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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                               VALDOSTA, GEORGIA

 RBW LOGISTICS CORPORATION,

         Plaintiff,
         v.
                                                   CIVIL ACTION
 ARGLASS YAMAMURA SE, LLC,                         FILE NO. 7:22-cv-00059-HL

         Defendant.


                             PROPOSED SCHEDULING AND
                                 DISCOVERY ORDER

             The parties held a Rule 26(f) conference on December 8, 2022. At that

  conference, the parties agreed to mediate the case, and on December 21, 2022,

  the Court ordered all case deadlines stayed until March 15, 2023 so the parties

  could mediate. See Dkt. 24. In accordance with the Court’s Rules 16 and 26

  Order dated November 28, 2022 and Order dated December 21, 2022, the parties

  to this action conferred and jointly developed this Proposed Scheduling and

  Discovery Order (the “Proposed Order”) containing deadlines and limitations as

  follows:


  I.         Nature of the Case:

             Please include a brief description of the nature of the case and the legal
             issues to be tried. This summary should not be argumentative nor recite the
             evidence, but should call the Court’s attention to any unique or complex
             issues or circumstances surrounding the case.


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             Arglass produces glass bottles at a manufacturing plant in Valdosta, GA.
             Arglass contracted with RBW to perform services for Arglass under a June
             1, 2021 Master Services Agreement (“Agreement”). After a number of
             disagreements between the parties, the Agreement was terminated in
             January 2022.

             RBW has asserted claims for breach of contract, account stated, conversion,
             and attorney’s fees. Arglass has asserted claims for breach of contract and
             attorney’s fees.

             RBW Legal Issues to be Tried:

                • Whether Arglass breached the Master Services Agreement by failing
                  to pay RBW for services provided.
                • The amount of damages Arglass caused RBW by breaching the
                  Master Services Agreement.
                • Whether Arglass can dispute RBW invoices outside 30 days of
                  receipt.
                • The amount of interest to be assessed to the damages Arglass caused
                  RBW.
                • Whether Arglass attempted in good faith to perform its duties under
                  the Master Services Agreement.
                • Whether Arglass’ lack of good faith to achieve full integration of the
                  AGVs constituted a breach of contract.
                • Whether Arglass admitted amounts owed to RBW on RBW’s
                  accounts stated.
                • The amount Arglass owes RBW for warehouse services rendered.
                • Whether Arglass has interfered with RBW’s property.
                • The amount of damage Arglass has caused RBW by interfering with
                  its property.
                • Whether Arglass has acted in bad faith, has been stubbornly litigious,
                  or caused RBW unnecessary trouble and expense by failing to pay
                  undisputed amounts due and owing.
                • The amount of Attorneys’ fees and costs Arglass has caused RBW to
                  incur by acting in bad faith and being stubbornly litigious.
                • Whether Arglass’ counterclaims are barred under the Master Services
                  Agreement.




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             Arglass Legal Issues to be Tried:

                • Whether RBW breached the Master Services Agreement;
                • Whether RBW caused Arglass to lose a multi-million dollar supply
                  contract and the extent of the resulting damages to Arglass;
                • Whether RBW’s breaches of the Master Services Agreement caused
                  Arglass damages and the extent of the resulting damages to Arglass;
                • The amount of any remaining Arglass damages, including attorney’s
                  fees and expenses;
                • Whether any limitation-of-liability provision in the Master Services
                  Agreement is enforceable;
                • Whether Arglass’s damages are covered under the Master Service
                  Agreement’s insurance and liability provisions;
                • Whether the “unsecured investment” provision is an unenforceable
                  termination penalty;
                • Whether RBW appropriately mitigated its purported damages;
                • Whether statutory interest applies to RBW’s breach of contract
                  claims;
                • Whether RBW is entitled to recover under an account stated theory
                  for disputed invoices;
                • Whether, given that it was in material breach at that point, RBW
                  could charge for manual labor services after the time-limited
                  contractual Startup Period had ended;
                • Whether RBW appropriately terminated the Master Services
                  Agreement;
                • Whether RBW complied with the conditions precedent to purport to
                  charge Arglass under the accessorial charges provisions of the Master
                  Services Agreement;
                • Whether RBW has stated or established a claim for conversion; and
                • Whether RBW acted in bad faith, has been stubbornly litigious, or
                  caused Arglass unnecessary trouble and expense.

  II.        Counsel of Record:

             The following individually named attorneys are designated lead counsel for
             the parties:

             Please include all relevant contact information for each lead counsel or pro
             se litigant, including mailing address, phone number, facsimile number, and
             email address.

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             RBW
             Kevin M. Phillips (admitted pro hac vice)
             Scopelitis, Garvin, Light, Hanson & Feary, P.C.
             30 W. Monroe St., Ste. 1600
             Chicago, IL 60603
             Tel: (312) 255-7200
             FAX: (312) 422-1224
             kphillips@scopelitis.com

             Brantley C. Rowlen
             Lewis, Brisbois, Bisgaard & Smith LLP
             24 Drayton Street
             Suite 300
             Savannah, GA 31401
             Tel: (404) 348-8585
             Fax: (912) 525-4961
             Brantley.Rowlen@lewisbrisbois.com


             Arglass
             Fredric J. Bold, Jr.
             Bondurant, Mixson & Elmore, LLP
             1201 W. Peachtree St. NW. Ste. 3900
             Atlanta, GA 30309
             Tel: (404) 881-4158
             FAX: (404) 881-4100
             bold@bmelaw.com

  III.       Complaint and Answer filing dates:

             Complaint filed:                          May 16, 2022
             Removed to this Court:                    June 23, 2022
             Answer/Counterclaims filed:               June 30, 2022
             Amended Answer/Counterclaims filed:       August 11, 2022

  IV.        Discovery Deadlines:

             A.    Time for Discovery

                   The time for fact discovery in this case shall expire September 15,
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                  2023, that being no more than 180 days after the submission of the
                  Proposed Order to the Court.

                  The parties request that following fact discovery the Court set an
                  October 15 expert discovery deadline for the production of any
                  affirmative expert reports by the parties, a November 15 deadline for the
                  production of any rebuttal expert reports, and a December 15 deadline
                  for the completion of any expert depositions.

                  If a party believes that more time for discovery is needed, an
                  appropriate motion, accompanied by a proposed order for the Court,
                  may be filed setting forth good cause for an extension.

             B.   Scope of Discovery

                  Please state the subjects on which discovery may be needed, when
                  discovery should be completed, and whether discovery should be
                  conducted in phases or be limited to or focused on particular issues.
                  See Fed. R. Civ. P. 26(b)(1), (f)(3)(B).
                  The parties have set forth in IV.A above a proposed discovery
                  period that bifurcates fact and expert discovery. The parties
                  anticipate needing discovery on the following topics. The inclusion
                  of any topic here is not a waiver of either party’s right to contest a
                  topic’s relevance, propriety, scope, etc.

                  RBW:
                     • Arglass’ request for proposal of services (the “RFP”);
                     • Arglass’ intent for issuing the RFP and surrounding the
                       formation of the Master Services Agreement;
                     • Arglass’ express, implied, and objective representations
                       surrounding the Master Services Agreement;
                     • Arglass’ intent, or lack of intent, to achieve full
                       automation/integration;
                     • Actions taken by Arglass that blocked or attempted to block
                       RBW from achieving full automation/integration;
                     • Arglass attempts, or lack of attempts to perform its
                       obligations under the Master Services Agreement;
                     • Actions taken by Arglass, or by agents of Arglass to impede
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                       RBW’s full use of the warehouse;
                    • Arglass’ technology/integration capabilities;
                    • Arglass’ intentions and efforts to fully automate, or allow
                      RBW to fully automate the warehouse;
                    • Arglass’ non-payment of RBW’s invoices;
                    • Arglass untimely basis for disputing RBW’s invoices;
                    • The relationship between RBW and Arglass;
                    • Specific acts Arglass took to breach the Master Services
                      Agreement;
                    • Services RBW performed for Arglass;
                    • The Equipment bought by RBW in relation to the Master
                      Services Agreement;
                    • The relationship between Arglass/RBW and third-parties such
                      as Canon Business Process Services, Inc., Amerden, Carolina
                      Handling and Design Group;
                    • Previous contracts Arglass had with third-parties for the same
                      services it contracted with RBW for;
                    • Arglass’ interference with and conversion of RBW’s property;
                    • The bases and monetary calculation for Arglass’ alleged lost
                      profits and other damages under its Counterclaim.
                    • Arglass’ financial information related to its alleged lost profit
                      damages under its Counterclaim.
                    • Arglass’ contractual relationship with Diageo and the
                      causation of any alleged lost business between Arglass and
                      Diageo regarding the Smirnoff Ice line.

                 Arglass:
                    • Arglass’s request for RBW to provide services, RBW’s
                      responses, and RBW’s experience and capabilities (or lack
                      thereof) to perform as promised;
                    • The parties’ pre-contractual due diligence and the MSA;
                    • The engagement under the MSA and the parties’
                      performance;
                    • RBW’s failed attempts to integrate and automate the
                      warehouse;
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                     • RBW’s warehouse mismanagement and organizational,
                       shipping, operational, accounting, and employee errors and
                       the like;
                     • The background, qualifications, performance, and cost of the
                       manual labor RBW provided to run Arglass’s warehouse;
                     • The nature and amount of monetary harm that RBW caused
                       Arglass;
                     • The loss of the Diageo Smirnoff Ice line caused by RBW;
                     • The basis for and propriety of the amounts that RBW
                       contends Arglass owes and any other alleged damages
                       claimed by RBW;
                     • The basis for RBW’s claims regarding any remaining
                       Equipment that it has not already received back;
                     • RBW’s mitigation of its alleged damages, if any;
                     • RBW’s use or sale of the AGVs and other Equipment;
                     • The return of any equipment or supplies purportedly owed by
                       RBW; and
                     • Attorney’s fees and expenses.

             C.   Electronically Stored Information

                  Please discuss any issues about disclosure, discovery, or
                  preservation of electronically stored information, including the form
                  or forms in which it should be produced. See Fed. R. Civ. P.
                  16(b)(3)(B)(iii), 26(f)(3)(C).

                  The parties will stipulate to a joint ESI Protocol which will require
                  the production of documents in the format of single-page TIFFS for
                  all documents except Excel (and any other spreadsheet files). For
                  Excel/spreadsheet files, the parties agree to provide Bates-numbered
                  slipsheets with links to the native files. Metadata shall be produced
                  in DAT/OPT load files.

             D.   Privilege Claims

                  Please discuss any issues about claims of privilege or of protection as
                  trial- preparation materials, including – if the parties agree on a

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                  procedure to assert these claims after production – whether to ask
                  the Court to include their agreement in an order under Federal Rule
                  of Evidence 502. See Fed. R. Civ. P. 16(b)(3)(B)(iv), 26(f)(3)(D).

                  The parties agree that where only a portion of a document or document
                  family contains privileged information, the producing party shall redact
                  only the substance of the information claimed as privileged and shall
                  produce the remainder of the document and document family in
                  unredacted form.

                  Neither party may redact documents based on relevance. If any part of a
                  document or document family is responsive and non-privileged, each
                  party shall produce the entire document family unredacted.

                  The parties agree that the format of any privilege or redaction logs shall
                  include the following columns of information: identifying document
                  number, date, sender, all recipients (to:, cc:, and bcc:), verbatim subject
                  line of any email/communication or document (to the extent privledge is
                  not waived), all privileges asserted, and a description of the subject
                  matter of the withheld document/information specific enough to test the
                  propriety of the privilege assertion but without revealing the claimed
                  privileged information. Any attachments to emails or documents will
                  have their own row on the privilege log immediately following the
                  parent document. The parent documents on the privilege log shall be
                  listed in chronological order. And the senders and recipients listed shall
                  include both the individual’s full name and, for emails, email address.

                  The parties agree that any subsequent agreement about the content or
                  form of the parties’ privilege logs shall apply mutually to both sides.



             E.   Witnesses to be Deposed

                  Please include the name and address of every witness to be deposed.
                  Based on the information currently available to both sides, the parties
                  provide the following lists of expected deponents. The parties reserve
                  the right to add to or subtract from this list based on the parties’
                  continued investigation, discovery, and other developments in the
                  litigation.

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                 Pursuant to Federal Rule of Civil Procedure 30, RBW believes it will
                 need more than 10 depositions due to the complexity of the case and
                 the number of key witnesses; Arglass disagrees. The parties further
                 agree that RBW’s inclusion of more than 10 deponents in the list
                 below and/or the Court’s approval of this Proposed Scheduling and
                 Discovery Order do not constitute approval by Arglass or the Court for
                 RBW to take all of the listed depositions. If needed, an appropriate
                 motion will be made.

               RBW:


                 • ARGLASS YAMAMURA SE, LLC
                 • Jose Diego Arozamena, CEO, Arglass
                 • Steven Smith, IT Director, Arglass
                 • Andrew Williams, former IT Director, Arglass
                 • Jason Buxton, former IT Director, Arglass
                 • Joe Luna, Vice President of Supply Chain, Arglass
                 • Austin Griffis, Logistics Specialist, Arglass
                 • Romulo Tinoco Costs, Quality, Arglass
                 • Scott Cargill, Account Executive, Design Group
                 • Bala Ramasamy, Engineer, Design Group
                 • Chris Youngs of Carolina Handling
                 • Matt Lynkowski of Carolina Handling
                 • Canon Business Process Services, Inc. Representatives
                 • Amerden Represenatatives
                 • Ray Reddick of Diageo
                 • Landon Miley of AMX Trucking
                 • Testifying experts for Arglass which are not known at this time



                 Arglass Address:
                 • 1 Arglass Rd, Valdosta, GA 31601


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                   Design Group’s address:
                   • 8235 Forsyth Boulevard, Suite 900, St. Louis, MO 63105

                   Carolina Handling’s address:
                   • 92 Howell Avenue, Fairburn, GA 30213

                   Arglass:
                   • RBW Logistics Corporation
                   • Frank Anderson, President, RBW
                   • Robert Willert, Chief Operating Officer, RBW
                   • Tony Calabrase, Chief Technology Officer, RBW
                   • John Albright, Senior Operations Manager, RBW
                   • Aaron Ferguson, Business Analyst – Operations & Development,
                     RBW
                   • Katie Oldham, IT Support Specialist, RBW
                   • Derik Aiken, Operations Manager, RBW
                   • Any testifying expert witness for RBW

                  Addresses for RBW Witnesses:
                    • 326 Prep Phillips Drive, Augusta, GA 30901
                    • 1634 Tobacco Road, Augusta, GA 30906
                    • The identity and address of any testifying expert for RBW is not
                      known at this time.

             F.    Expert Witnesses

                   1.    Designation of Experts

                         The parties have agreed to a proposed expert designation
                         schedule in IV.A above.

                   2.    Expert Reports

                         Expert reports shall comply with Federal Rule of Civil
                         Procedure 26(a)(2)(B) and shall be disclosed in accordance
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                         with the expert schedule proposed in IV.A above. No
                         additional supplemental reports may be disclosed or provided
                         after this date without leave of Court.


             G.    Discovery Limitations or Need for Protective Order

                   The parties agree that requests for admission that are propounded
                   solely to authenticate documents as provided for under Federal Rule
                   of Civil Procedure 36(a)(1)(B) are excluded from Local Rule 36's
                   limitation on the number of requests to admit that can be propounded.

                   The parties have stipulated to a joint protective order applicable to all
                   documents produced in this matter and will file that proposed order for
                   the Court’s consideration within the next seven days.


             H.    Discovery Disputes

                   Before moving for an order relating to discovery, including motions
                   to compel or contested motions for protective orders, the movant must
                   contact Nora Paul, Courtroom Deputy (478.752.0725) to request a
                   telephone conference with the Court.

                   In advance of any such call with the Court, the parties request that
                   they be permitted to file a maximum 2-page letter brief providing an
                   overview of the discovery issues to be discussed.

  V.         Time for Filing Motions:

             I.    Motions to Amend the Pleadings or to Join Parties

                   All motions seeking to amend the pleadings or to join parties must
                   be filed no later than May 15, 2023, that being no more than 60
                   days after the entry of this Scheduling and Discovery Order.

             J.    Dispositive Motions

                   All dispositive motions must be filed no later than 30 days after the

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                   expiration of expert discovery in this case.

             K.    Daubert Motions

                   All Daubert motions must be filed no later than 30 days after the
                   expiration of expert discovery in this case.

  VI.        Certification of the Parties and Counsel:

             The Parties, by the signature of counsel below, certify they have conferred
             and discussed the nature and basis of their claims and defenses and the
             possibilities for prompt settlement or resolution of the case, pursuant to
             Local Rule 26(a).

             Counsel further certify they have read the Court’s Rules 16 and 26 Order. All
             counsel of record shall digitally sign below.

             This 15th day of March, 2023.


 /s/ Eric J. Meyers                              /s/ Fredric J. Bold, Jr.
 Eric J. Meyers                                  Frank Lowrey, IV
 (admitted pro hac vice)                         lowrey@bmelaw.com
 Kevin M. Phillips                               Fredric J. Bold, Jr.
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 Counsel for RBW Logistics Corporation




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        The Court, having reviewed the information contained in the Proposed

Scheduling and Discovery Order completed and filed jointly by the parties to this

action, hereby ADOPTS the parties’ plan and MAKES IT THE ORDER OF THE

COURT.


             SO ORDERED, this 22nd day of March, 2023.


                                       s/Hugh Lawson
                                       HON. HUGH LAWSON
                                       SENIOR JUDGE
                                       UNITED STATES DISTRICT COURT




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                            CERTIFICATE OF SERVICE

        I hereby certify that on March 15, 2023, I caused to be electronically filed the

foregoing PROPOSED SCHEDULING AND DISCOVERY ORDER with the

Clerk of Court using the Court’s electronic filing system, which will automatically

send email notification of such filing to all attorneys of record:

        This 15th day of March, 2023.

                                         /s/ Fredric J. Bold, Jr.
                                         Fredric J. Bold, Jr.
                                         Georgia Bar No. 544604




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